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 8                         UNITED STATES DISTRICT COURT

 9              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

10

11                                          CASE NO. CV 21-05326-AB(AS)
      ALI AGHAEI,
12                                                      JUDGMENT
13                     Petitioner,

14         v.

15    ARRIEL RUBINSTEIN, et. al.,

16
                       Respondents.
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19
20         Pursuant to the Order Accepting Findings, Conclusions and

21   Recommendations of United States Magistrate Judge,

22         IT IS ADJUDGED that the Petition is denied and dismissed with
23   prejudice.
24
           DATED: December 01, 2021
25

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27                                            ___________    _________ ____
                                                     ANDRÉ BIROTTE JR.
28                                             UNITED STATES DISTRICT JUDGE
